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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS
                               EASTERN DIVISION

JERRY SMITH                                                              PETITIONER
Reg # 29176-001

V.                               NO. 2:19-CV-00051-DPM-JTK

DEWAYNE HENDRIX, Warden                                                  RESPONDENT
FCI-Forrest City


             RESPONSE TO 28 U.S.C. §2241 HABEAS CORPUS PETITION

       Now comes the Respondent, and for his response to the habeas corpus petition of

Petitioner Jerry Smith brought under 28 U.S.C. §2241, states:

       In the U.S. District Court for the Northern District of Alabama, petitioner Jerry

Smith entered into a plea agreement whereby he agreed to plead guilty to three counts

of transporting a minor in interstate commerce for the purpose of engaging in illicit

sexual conduct, in violation of 18 U.S.C. §2423(a). Exhibit 1. On April 6, 2012, he was

sentenced to a term of imprisonment of 120 months on each count, to run concurrently.

Exhibit 2, Judgment In A Criminal Case. He did not appeal his conviction or sentence.

       On February 7, 2013, Smith filed a 28 U.S.C. §2255 motion in the sentencing

court, Smith v. United States, Northern District of Alabama, case # 3:13cv8002. His

motion asserted ineffective assistance of counsel in several respects and recantation of

the victim’s testimony based on a September 27, 2013 affidavit in which the victim

stated that she never had sexual contact with Smith. The district court rejected all

claims, finding, inter alia, that the victim’s recantation was not credible. Exhibit 3,

December 23, 2014 Memorandum Opinion at pg. 14-16. The court entered an Order
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dismissing Smith’s §2255 motion with prejudice and denying a certificate of

appealability. Exhibit 4. Smith did not appeal to the Eleventh Circuit Court of Appeals.

       In February 2019, Smith filed in the sentencing court an application for a 28

U.S.C. § 2241 writ of habeas corpus, case # 3:19cv8010, arguing he is “actually innocent”

based on four November 2018 letters and a October 30, 2018 affidavit from persons

who stated that the victim told them she had lied and Smith is not guilty. Exhibit 5. The

district court found that it lacked jurisdiction, whether Smith’s application for writ of

habeas corpus was considered a §2241 motion or a §2255 motion. March 15, 2019

Memorandum Opinion, Exhibit 6. The court entered an Order dismissing Smith’s

application with prejudice and denying a certificate of appealability, Exhibit 7. Smith

did not seek authorization to file a second §2255 motion from the Eleventh Circuit.

       On May 6, 2019, Smith filed his §2241 petition in this Court. Doc. # 1. In the

instant petition, Smith challenges his conviction on the same grounds asserted in his

§2241 petition in the Northern District of Alabama, and he attaches the same letters and

affidavit. Doc. 2. Petitioner has the burden of demonstrating that his §2255 remedy in

the sentencing court is “inadequate or ineffective to test the legality of his detention”. 28

U.S.C. §2255(e); Lopez-Lopez v. Sanders, 590 F.3d 905, 907 (8th Cir. 2010); Hill v. Morrison,

349 F.3d 1089, 1092 (8th Cir. 2003). Petitioner has not satisfied his burden. He has a §2255

remedy. He can file with the Eleventh Circuit an application for permission to file a

second §2255 motion based on grounds of newly discovered evidence. 28 U.S.C.

§2255(h)(1). See, Exhibit 6, fn4 at pg. 4.



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       In addition, Smith’s §2241 petition is barred by his plea agreement in which he

waived his right to challenge his conviction and/or sentence in any post-conviction

proceeding. Exhibit 1 at pg. 6. Waivers of post-conviction habeas corpus rights are

enforceable. United States v. Andis, 333 F.3d 886, 887n.3 (8th Cir. 2003); DeRoo v. United

States, 223 F.3d 919, 923 (8th Cir. 2000); Cardenas-Celestino v. United States, 552 F. Supp.2d

962, 965 (W.D. Mo. 2008); Johnson v. United States, 2011 WL 1559764, *6 (E.D. Mo. 2011).

       For the reasons stated herein, this Court lacks jurisdiction over petitioner’s §2241

petition, and the petition should be dismissed.



                                                   Respectfully Submitted,
                                                   CODY HILAND
                                                   United States Attorney


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                                    CERTIFICATE OF SERVICE

       This will certify that a true and correct copy of the foregoing was filed with the Court via

ECF and a copy sent on this 19th day of June 2019, to the following by U.S. Mail:


Jerry Smith
Reg. No. 29176-001
Forrest City Correctional Institution
Inmate Mail / Parcels
P.O. Box 9000
Forrest City, AR 72336-9000

                                                    By: Richard Pence, Jr.




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